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FILED IN CLERK’S OFFICE

U.S.D.C. - Atlanta
UNITED STATES DISTRICT COURT .
NORTHERN DISTRICT OF GEORGIA =~. NOV 04 2018
ATLANTA DIVISION :"
JAMES HATTEN, Clerk
SANDRA B. WILLIAMS By: Wea =
PLAINTIFF,
CIVIL ACTION

Vv.

16/9 -LV IF (9
7Lb

ENCORE CREDIT CORPORATION C/O
SELECT PORTFOLIO SERVICING &

U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE, ON BEHALF THE HOLDERS OF
THE HOME EQUITY ASSET TRUST 2006-5
HOME EQUITY PASS THROUGH
CERTIFICATES, SERIES 2006-5

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DEFENDANTS
PLAINTIFF’S OBJECTIONS TO MAGISTRATE JUDGE’S FINAL
REPORT RECOMMENDATION AND ORDER, AMENDED
VERIFIED EMERGENCY MOTION TO SET ASIDE/VACATE AUGUST 6,
2019 FORECLOSURE SALE, RESTORE TITLE, INJUNCTION,
WRONGFUL FORECLOSURE, PROMISSORY ESTOPPEL, SANCTIONS
AND DAMAGES

COMES NOW Movant, Sandra B. Williams, Plaintiff in the above
captioned action, appearing Pro Se, and files this OBJECTION TO
MAGISTRATE JUDGE’S FINAL REPORT, RECOMMENDATION AND
ORDER, Amended Emergency Motion to Vacate, Set Aside and Rescind the
Foreclosure sale that took place on August 6, 2019 despite their admitted promise

not to do so (Exhibit A) and Injunction. Plaintiff moves pursuant to Uniform

Superior Court Rules 6.7! and OCGA § 9-11-65 (b) against the Defendants U.S.

 

1 Rule 6.7 Motions in Emergencies
